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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 24-cv-60984-Rosenberg/Augustin-Birch

  MELINDA MICHAELS,

          Plaintiff,

  v.

  SEAWATER PRO LLC, and
  MICHAEL SPANOS A/K/A MIKE SPANOS,

        Defendants.
  ______________________________________/

                                    AMENDED COMPLAINT
                                     {Jury Trial Demanded}

          Plaintiff MELINDA MICHAELS (“Michaels”) brings this action against Defendants

  SEAWATER PRO LLC (“SeaWater Pro”) and MICHAEL SPANOS A/K/A MIKE SPANOS

  (“Spanos”) and alleges as follows:

  1.     This is an action arising under the Fair Labor Standards Act 29 U.S.C. §§ 201-219

  (“FLSA”). Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

  2.     At all times material hereto, Plaintiff was a resident of Florida and an “employee” of

  Defendants as defined by the FLSA.

  3.     At all times material hereto, SeaWater Pro was a Florida corporation that regularly

  transacted business in Broward County, Florida.

  4.     Upon information and belief, SeaWater Pro’s gross sales or business generated was over

  $500,000 per year at all times material hereto.




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  5.     SeaWater Pro has employees handling, selling, or otherwise working on goods or

  materials that were moved in or produced for commerce, including but not limited to computers,

  phones, pens, and paper.

  6.     SeaWater Pro was an enterprise engaged in commerce or the production of goods for

  commerce and is covered by the FLSA at all times material hereto.

  7.     At all times material hereto, Michaels engaged in interstate communication on a regular

  and recurring basis, including but not limited to communication via telephone with vendors

  located in India several times per week.

  8.     Michaels engaged in interstate commerce on a regular and recurring basis and is

  individually covered by the FLSA.

  9.     Spanos is an FLSA employer as defined in 29 U.S.C. § 203(d), is an owner and/or

  manager of SeaWater Pro, ran the day-to-day operations, had operational control over SeaWater

  Pro, and was directly involved in decisions affecting duties, employee compensation, and hours

  worked by employees, such as Plaintiff.

  10.    SeaWater Pro operates a business engaged in sales of watermakers for boats.

  11.    Michaels worked for Defendants as a manager.

  12.    Defendants failed to pay Michaels’ full and proper minimum wages.

  13.    Defendants knowingly and willfully refused to pay Plaintiff’s legally-entitled wages.

  14.    Attached as Exhibit A is a preliminary calculation of Michaels’ claims including date

  ranges, hours worked, rates of pay, and unpaid wages; these amounts may change as Plaintiff

  engages in the discovery process.

  15.    Plaintiff retained the services of the undersigned and is obligated to pay for the legal

  services provided.




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                                       COUNT I
                     VIOLATION OF THE FAIR LABOR STANDARDS ACT
                              AGAINST ALL DEFENDANTS

  16.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-15 above as if

  set forth herein in full.

  17.     Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b), Plaintiff is entitled to (i)

  unpaid minimum wages and (ii) liquidated damages.

  18.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

  and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

           WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

  plus costs, reasonable attorneys’ fees, and such other remedy as the court deems just and

  appropriate.

                                       COUNT II
                       VIOLATION OF FLORIDA MINIMUM WAGE ACT
                               AGAINST ALL DEFENDANTS

  19.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-15 above as if

  set forth herein in full.

  20.     The Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

  21.     Defendants intentionally and willfully did not pay Plaintiff the full and proper minimum

  wages pursuant to Florida Statute § 448.110.

  22.     Plaintiff complied with the pre-suit notice requirement before bringing this claim.

          WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

  plus costs, reasonable attorneys’ fees, equitable relief, and such other remedy as the Court deems

  just and appropriate.




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                                     Respectfully submitted,

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